Case 2:19-cv-01156-MWF-AS Document 68-2 Filed 12/26/19 Page 1 of 4 Page ID #:568




                       EXHIBIT 1
  Case 2:19-cv-01156-MWF-AS Document 68-2 Filed 12/26/19 Page 2 of 4 Page ID #:569
         Status Report For:       HOVSAT, INC.
         Report Date:             9/24/2019
         Confirmation Number:     92671809801


IDENTIFICATION NUMBER, ENTITY TYPE AND STATUS INFORMATION


         Business ID Number:      0100242479
         Business Type:           DOMESTIC PROFIT CORPORATION
         Status:                  REVOKED FOR NOT FILING ANNUAL REPORT FOR 2
                                  CONSECUTIVE YEARS
         Original Filing Date:    11/19/1984
         Stock Amount:            2500
         Home Jurisdiction:       NJ
         Status Change Date:      NOT APPLICABLE


REVOCATION/SUSPENSION INFORMATION


         DOR Suspension   Start   06-16-2012
         Date:
         DOR Suspension   End     N/A
         Date:
         Tax Suspension   Start   N/A
         Date:
         Tax Suspension   End     N/A
         Date:


ANNUAL REPORT INFORMATION


         Annual Report Month:     NOVEMBER
         Last Annual Report       02/08/2010
         Filed:
         Year:                    2009


AGENT/SERVICE OF PROCESS (SOP)INFORMATION


         Agent:                   ARTHUR HAVIGHORST
         Agent/SOP Address:       1 DAG HAMMARSKJOLK BLVD ,FREEHOLD,NJ,07728
         Address Status:          DELIVERABLE
         Main Business Address:   DAG HAMMARSKJOLD BLVD., SUITE 12, FREEHOLD,
                                  NJ, 07728
         Principal Business       DAG HAMMARSKJOLD BLVD.,
         Address:                 SUITE12,FREEHOLD,NJ,07728


ASSOCIATED NAMES


         Associated Name:         GRAND VIEW CABLE
         Type:                    FC


PRINCIPALS
  Case 2:19-cv-01156-MWF-AS Document 68-2 Filed 12/26/19 Page 3 of 4 Page ID #:570

Following are the most recently reported officers/directors (corporations),
managers/members/managing members (LLCs), general partners (LPs), trustees/officers
(non-profits).


         Title:                   PRESIDENT
         Name:                    HOVNANIAN,VAHAK
         Address:                 1 DAG HAMMARSKJOLD BLVD, FREEHOLD, NJ, 07728


FILING HISTORY -- CORPORATIONS, LIMITED LIABILITY COMPANIES, LIMITED PARTNERSHIPS AND
LIMITED LIABILITY PARTNERSHIPS




To order copies of any of the filings below, return to the service page,
https://www.njportal.com/DOR/businessrecords/Default.aspx and follow the instructions
for obtaining copies. Please note that trade names are filed initially with the County
Clerk(s) and are not available through this service. Contact the Division for
instructions on how to order Trade Mark documents.




Charter Documents for Corporations, LLCs, LPs and LLPs


         Original Filing          1984
         (Certificate)Date:


Changes and Amendments to the Original Certificate:


         Filing Type              Year Filed
         CHANGE OF AGENT AND      2003
         OFFICE
         CHANGE OF AGENT AND      1996
         OFFICE
         REVOKED FOR FAILURE TO   2012
         PAY ANNUAL REPORTS
         ALTERNATE NAME FILING    1991


Note:
Copies of some of the charter documents above, particularly those filed before June
1988 and recently filed documents (filed less than 20 work days from the current date),
may not be available for online download.


 • For older filings, contact the Division for instructions on how to order.
 • For recent filings, allow 20 work days from the estimated filing date, revisit the
   service center at https://www.njportal.com/DOR/businessrecords/Default.aspx
   periodically, search for the business again and build a current list of its
   filings. Repeat this procedure until the document shows on the list of documents
   available for download.
  Case 2:19-cv-01156-MWF-AS Document 68-2 Filed 12/26/19 Page 4 of 4 Page ID #:571


The Division cannot provide information on filing requests that are in process. Only
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